Case 2:04-cr-20476-SH|\/| Document 88 Filed 04/26/05 Page 1 of 2 Page|D 277
§:r§ §'~'»`§ ----- § 5~'_§)

 

r§§.§;§J§§§-'_. v_§__i§)§;IN THE UNITED sTATES DIsTRIcT coul%:.“ »'
FOR THE wEsTERN DISTRICT oF TENNESS§_E m H_ F.U
955§7§126 ap 7 91 wEsTERN DIvIsIoN J§§§ §:§J §=.§;§§' ;§

UN__I_TED sTAT§_§ oF AMERICA
c§_§:§`.§;_ §,§eT. c;‘§,
V‘bfh£r§thfff§r§§§§:~§§q

 

vs. CR. NO. O4-20476-D

DAVID TATE,

v~_¢~_rw\¢dv\¢fvv

Defendant.

ORDER GRANTING MOTION OF THE UNITED STATES TO
CONTINUE BOND HEARING

A bond hearing in this case is currently set for April 26,
2095, at 9:30 a.m. The government has moved the district court to
continue this hearing. For good cause shown, the district court
hereby GRANTS the government’s Motion to Continue Bond Hearing.
The bond hearing in this case is reset for E? ,

2005,at ZO?JJD .

so oRDERED this 3\5"""\ day of April, 2005, at Memphis,

ge

Tennessee.

   

 

 
 

Th Honora l Bernice B. Donald\\
Un ted States District Court Judqe

APPROVED:

@~»ri~C-Mw_)-»é_§

Mseph C. Murphy, Jr.
Assistant United States Attorney
Western District of Tennessee

This document entered on the docket sheet m compiier§e-,~
with eule se and/or 32(§§) mch on _"Ll_'§=?(¢ 135

 

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 88 in
case 2:04-CR-20476 Was distributed by faX, mail, or direct printing on
Apri126, 2005 to the parties listed.

 

Joseph C Murphy

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Thomas A. Colthurst

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Stephen R. Left]er
LEFFLER LAW OFFICE
707 Adams Ave.
Memphis7 TN 38105

Honorable Bernice Donald
US DISTRICT COURT

